
264 N.W.2d 731 (1978)
The COMMITTEE ON PROFESSIONAL ETHICS AND CONDUCT OF the IOWA STATE BAR ASSOCIATION, Complainant,
v.
Larry D. MUNSINGER, Respondent.
No. 60801.
Supreme Court of Iowa.
April 19, 1978.
*732 Thomas R. Hronek of Maurer &amp; Terrill, Ames, for respondent.
Lee H. Gaudineer, Jr., Des Moines, for complainant.
Considered en banc.
McCORMICK, Justice.
This is a lawyer disciplinary proceeding arising from state income tax violations by respondent Larry D. Munsinger. Upon de novo review of the report of our Grievance Commission we suspend his license indefinitely with no possibility of reinstatement for 12 months from July 25, 1977, the date of his temporary suspension.
Respondent willfully and knowingly failed to file state income tax returns for 11 years, from 1965 through 1975. He was charged by county attorney's information with three counts of violating Code § 422.25(5) and was convicted and sentenced upon his plea of guilty to those charges. Moreover, in March 1974 he falsely reported on his annual report to the Client Security and Attorney Disciplinary Commission that he filed his last state income tax return that month. Because his income was subject to withholding, he would have been entitled to refunds during seven of the years involved and his tax liability for the four other years was small. Nevertheless, his conduct violated Disciplinary Rule 1-102(A)(1), (4), (5) and (6) and § 610.24(3) and (4), The Code. Discipline is warranted.
General principles applicable to this proceeding are discussed in a number of cases and will not be repeated here. See Committee on Professional Ethics and Conduct v. Roberts, 246 N.W.2d 259, 262 (Iowa 1976); Committee on Professional Ethics and Conduct v. Lemon, 237 N.W.2d 824 (Iowa 1976); Committee on Professional Ethics and Conduct v. Bromwell, 221 N.W.2d 777 (Iowa 1974).
The license of the respondent Larry D. Munsinger to practice law in the courts of this state as that term is defined in Court Rule 118.12 as amended November 21, 1977, is suspended indefinitely with no possibility of reinstatement for 12 months from the date of temporary suspension, July 25, 1977. See Court Rule 118.13.
Upon any application for reinstatement respondent shall prove he has not practiced law during the suspension period.
LICENSE SUSPENDED.
All Justices concur.
